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 APPLE INC.


                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION


LAUREN HUGHES, et al., on behalf of              Case No. 3:22-cv-07668-VC
themselves and all others similarly situated,
                                                 STIPULATION AND [PROPOSED]
                       Plaintiffs,               ORDER TO SET DEADLINE FOR
                                                 APPLE INC.’S ANSWER TO
       v.                                        AMENDED COMPLAINT

APPLE INC., a California corporation,            Judge: Honorable Vince Chhabria

                       Defendant.                Second Am. Compl. Filed: April 5, 2024




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       Pursuant to Civil Local Rule 6-2(a), Plaintiffs and Defendant Apple Inc. (“Apple”), by

and through their attorneys of record, stipulate as follows:

       WHEREAS, Plaintiffs filed their Complaint on December 5, 2022 (ECF No. 1), and

before Apple’s deadline to respond to the Complaint, Plaintiffs filed their First Amended

Complaint (“FAC”) on October 6, 2023 (ECF No. 46);

       WHEREAS, Apple moved to dismiss Plaintiffs’ FAC on October 27, 2023 (ECF No. 50);

       WHEREAS, the Court granted in part and denied in part Apple’s motion to dismiss

Plaintiffs’ FAC on March 15, 2024 and granted Plaintiffs leave to file any amended complaint on

dismissed claims within 21 days of the Court’s ruling (ECF Nos. 73, 74);

       WHEREAS, Plaintiffs filed their Second Amended Complaint (“SAC”) on April 5, 2024

(ECF No. 79);

       WHEREAS, the parties have not previously proposed a deadline by which Apple must

answer all non-dismissed claims in the SAC in any of their joint case management statements

(see, e.g., ECF Nos. 64, 68, 71, 75);

       WHEREAS, at the Case Management Conference held on March 22, 2024, the Court set

a briefing schedule for Apple’s Motion to Dismiss Plaintiffs’ SAC but did not set a deadline for

Apple to file an Answer to non-dismissed claims (ECF No. 77);

       WHEREAS, on May 10, 2024, Apple filed a motion to dismiss several of the claims

asserted in the SAC (ECF No. 82);

       WHEREAS, the parties met and conferred on May 9, 2024, and agreed, in light of the

pending motion to dismiss and in the interests of efficiency, to set the deadline for Apple to file

its answer to the operative complaint to the date 45 days after the Court issues a motion to

dismiss order without leave to amend, or after any deadline for amendment set in a motion to

dismiss order has passed without an amended complaint being filed (Declaration of Tiffany

Cheung (“Cheung Decl.”) ¶ 2);

       WHEREAS, the parties have previously stipulated twice to extend Apple’s deadline to

respond to the complaint in this case (ECF Nos. 25, 35);


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         NOW THEREFORE, the parties hereby stipulate and agree, subject to the approval of the

Court, that Apple’s deadline to answer all non-dismissed claims in the SAC shall be 45 days

after the Court issues a motion to dismiss order without leave to amend, or after any deadline for

amendment set in a motion to dismiss order has passed without an amended complaint being

filed.

  Dated: May 22, 2024                        Respectfully submitted,



                                             MORRISON & FOERSTER LLP
                                             TIFFANY CHEUNG
                                             GALIA Z. AMRAM
                                             MELODY E. WONG
                                             JOCELYN GREER




                                            By: /s/ Tiffany Cheung
                                                TIFFANY CHEUNG

                                                 Attorneys for Defendant
                                                 APPLE INC.


  Dated: May 22, 2024                        GILLIAN L. WADE
                                             MILSTEIN JACKSON
                                             FAIRCHILD & WADE, LLP



                                           By: /s/ Gillian L. Wade
                                               GILLIAN L. WADE

                                                 Attorneys for Plaintiffs
                                                 LAUREN HUGHES, et al.




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                                    ECF ATTESTATION

       I, Tiffany Cheung, am the ECF User whose ID and password are being used to file this

document. In compliance with Civil Local Rule 5-1(i)(3), I attest that Gillian L. Wade has

concurred to this filing.


Dated: May 22, 2024                             MORRISON & FOERSTER LLP



                                                /s/ Tiffany Cheung
                                                    TIFFANY CHEUNG

                                                Attorneys for Defendant
                                                APPLE INC.




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                                       [PROPOSED] ORDER
         Pursuant to the parties’ stipulation, the Court hereby orders that:
   1. Apple’s deadline to answer all non-dismissed claims in SAC shall be 45 days after this
      Court issues a motion to dismiss order without leave to amend to the SAC.
IT IS SO ORDERED.


Dated:
                                                Honorable Vince Chhabria
                                                United States District Court Judge




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